Case 1:16-cv-01364-JPO Document 1-1 Filed 02/22/16 Page 1 of 2

THE NEW YORK CITY DEPARTMENT OF EDUCATION

 

 

Division of Human Resources

Education Office of Personnel Investigation
Casmen Fariaa, Chancellor 65 Court Street, Room 200 — Brooklyn, NY 11201

July 28, 2015

Rosemarie Richardson
622 East 20" St, Apt 9B
New York, NY 10009

License/Title/Position: Special Education Supervisor/Teacher /Manual Therapy Center/DOE Vendor
Applicant ID#: 0303676

PRP #: 128,638

Dear Ms. Richardson,

The Chief Executive Officer of the Division of Human Resources, through his designee, has reviewed your
application for security clearance. After a thorough review in accordance with the applicable provisions of

law, yout application has been denied.

The specific reason for the denial of your application is based upon due consideration of the following:

 

Employer Employment Range Reason
New York City Department of 9/11/87 — 7/1/2012 Office of Special Investigations (OSD)
Education Report Case No. 11-9350

Yout application for security clearance is denied due to your adverse employment history with the New York
City Department of Education (DOE). While employed as an Educational Administrator for the DOE, you
were subject of an OSI Report, dated 8/14/12. This report found that, in your position as a Committee on
Preschool Special Education (CPSE) Administrator, you failed to follow the timelines under Section 200.16
of the NYS Regulations and Section 4410 of Education Law Article 89, you failed to respond to the request
of both a parent and service provider to change a student’s Individualized Education Plan (IEP), you failed
to contact said student’s mother and service provider to review and ensure that they could be in attendance
during an IEP review, and you falsely documented that said mother had participated, via teleconference, in
the annual review of her child’s IEP.

If granted security clearance, you will be working in a position where you will be responsible for both, the
management and the implementation of vatious student IEP’s. Your inability to properly carry out the duties
and responsibilities of the position you held as a DOE employee causes grave concern when considering your
ability to satisfactorily perform in the position you are seeking. Granting you security clearance would pose
an unreasonable tisk to the safety and welfare of the school community and to taxpayer interests.

You were given the opportunity to review the above information with the Office of Personnel Investigation
and to provide information in support of your application during your interview, conducted on 7/20/2015.

We have reviewed your entire file (including all information submitted by you during your interview) in making
this decision.

Telephone (718) 935-2665 - Fax (718) 935-4366/5778
Case 1:16-cv-01364-JPO Document 1-1 Filed 02/22/16 Page 2 of 2

Please be advised that you are unable to reapply for employment for twelve (12) months from the date of this
letter.

Sincetely,
The Office of Personnel Investigation

Division of Human Resources
NYC Department of Education
